Case 3:12-cv-00837-LAB-NLS Document 65 Filed 09/11/18 PageID.807 Page 1 of 3




 1   DYKEMA COX SMITH
     Victor Johnson (Pro Hac Vice)
 2   Texas Bar No. 24029640
     vjohnson@dykema.com
 3   1717 Main Street, Suite 4200
     Dallas, Texas 75201
 4   Telephone: (214) 462-6400
     Facsimile: (214) 462-6401
 5   Attorney for Defendants,
     TXU Energy and TXU Energy Retail
 6   Company, LLC
 7
 8                      UNITED STATES DISTRICT COURT
 9                   SOUTHERN DISTRICT OF CALIFORNIA
10
     PAMELA CHYBA,                              Case No. 3:12-CV-00837-BEN (NLS)
11
               Plaintiff,                       [Assigned to Judge Larry A. Burns]
12
         vs.                                    DEFENDANTS TXU ENERGY’S
13                                              AND TXU ENERGY RETAIL
14 TXU ENERGY and TXU ENERGY                    COMPANY, LLC’S NOTICE OF
   RETAIL COMPANY, LLC,                         MOTION AND MOTION TO
15                                              DISMISS PURSUANT TO RULE
            Defendants.                         41(b)
16
                                                Hearing Date: November 19, 2018
17                                              Time: 11:30 a.m.
                                                Courtroom: 14A
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                                                             CASE NO.: 3:12-CV-00837-BEN (NLS)
                                DEFENDANTS TXU ENERGY’S AND TXU ENERGY RETAIL COMPANY, LLC’S
                                                        NOTICE OF MOTION AND MOTION TO DISMISS
Case 3:12-cv-00837-LAB-NLS Document 65 Filed 09/11/18 PageID.808 Page 2 of 3




 1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2        PLEASE TAKE NOTICE THAT on November 19, 2018 at 11:30 a.m., or as
 3 soon thereafter as the matter be heard before the Honorable Larry Alan Burns of the
 4 United States District Court for the Southern District of California, in Courtroom 14A
 5 of the above-entitled court, located at 333 W. Broadway, Suite 1410, San Diego, CA
 6 92101, Defendants TXU Energy and TXU Energy Retail will and hereby do move
 7 this Court for an order dismissing the First Amended Complaint (Dkt. 31), and each
 8 claim contained therein, filed by Plaintiff.
 9        This Motion is made pursuant to Rule 41(b) of the Federal Rules of Civil
10 Procedure, and is based on the following grounds:
11              Plaintiff filed suit against Defendants based on alleged violations of the
12               Fair Credit Reporting Act;
13              The Court stayed this action after Defendants filed a notice of suggestion
14               of bankruptcy on April 30, 2014;
15              On August 29, 2016, the Bankruptcy Court entered an order confirming
16               the Third Amended Joint Plan of Reorganization, which explicitly
17               enjoins any holders of claims arising from alleged violations of civil
18               rights and the Fair Credit Reporting Act from pursuing any actions
19               arising thereof; and
20              Plaintiff is now enjoined from pursuing her claims against Defendants
21               pursuant to the Bankruptcy Court’s order, and therefore this action
22               should be dismissed pursuant to Rule 41(b) of the Federal Rules of Civil
23               Procedure.
24        This Motion is based upon: (1) the Notice of Motion and Motion; (2) the
25 Memorandum of Points and Authorities in support thereof and exhibits attached
26 thereto, all filed concurrently herewith; (3) all pleadings and papers on file with the
27 Court in this matter; and (4) any oral arguments the Court may consider at the
28                                                2
                                                                 CASE NO.: 3:12-CV-00837-BEN (NLS)
                                    DEFENDANTS TXU ENERGY’S AND TXU ENERGY RETAIL COMPANY, LLC’S
                                                            NOTICE OF MOTION AND MOTION TO DISMISS
Case 3:12-cv-00837-LAB-NLS Document 65 Filed 09/11/18 PageID.809 Page 3 of 3




 1 hearing.
 2         For the reasons expressed above, Defendants respectfully request that the Court
 3 grant this Motion and dismiss Plaintiff’s claims with prejudice.
 4
 5 Dated: September 11, 2018                  DYKEMA GOSSETT LLP
                                              Victor C. Johnson
 6
 7                                            By: /s/ Victor C. Johnson
 8                                                Victor C. Johnson
                                                  Attorney for Defendants,
 9                                                    TXU ENERGY AND TXU
10                                                    ENERGY RETAIL COMPANY,
                                                      LLC
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12
                               CERTIFICATE OF SERVICE
13
           The undersigned hereby certifies that a true and correct copy of the above and
14
     foregoing document has been served on September 11, 2018, to all counsel of record
15
     who are deemed to have consented to electronic service via the Court’s CM/ECF
16
     system per Civil Local Rule 5.4. Any other counsel of record will be served by
17
     electronic mail, facsimile and/or overnight delivery.
18
19
                                            By:       /s/ Victor C. Johnson
20                                                    Victor C. Johnson (Pro Hac Vice)
                                                      Lead Counsel
21                                                    Texas Bar No. 24029640
22                                                    Attorney for Defendants,
                                                      TXU ENERGY and TXU ENERGY
23                                                    RETAIL COMPANY, LLC
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